This is appeal from an order of the department of labor and industry denying petition of defendants to stop compensation.
The testimony of plaintiff and of his physician is to the effect that the disability for which the original award of compensation was made still continues. This testimony is disputed.
The finding of fact by the department, having some evidence to sustain it, is conclusive on this court.
At the hearing before the deputy commissioner, defendants raised the point that plaintiff had not answered their petition to stop compensation, and cited Rule No. 20 of the rules of the department. The record does not show this question to have been *Page 30 
urged before the commission on review. Therefore it will not be considered here. Aske v. W. E. Wood Co., 248 Mich. 327.
Affirmed.
BUTZEL, C.J., and WIEST, McDONALD, POTTER, SHARPE, NORTH, and FEAD, JJ., concurred.